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     Telephone: (916) 554-2932
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: November 6, 2012
                                           )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Arturo
21   Hernandez, attorney for defendant Alejandro Fletes-Lopez; Kenny
22   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim
23   Pori, attorney for defendant Orlando Fletes-Lopez; Christopher
24   Haydn-Myer, attorney for defendant Jesus Sanchez-Lopez; Olaf Hedberg,
25   attorney for defendant German Velazquez; Michael Hansen, attorney for
26   defendant Marcela Santamaria; Dina Santos, attorney for defendant
27   Mauricio Portillo; Clemente Jimenez, attorney for defendant
28   Consepcion Carillo; Gilbert Roque, attorney for defendant Guadalupe

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 1   Reyes-Ontiveros; Chris Cosca, attorney for defendant Miguel
 2   Corona-Soria; and Hayes Gable, III, attorney for defendant Diana
 3   Hernandez-Gonzalez, that the previously-scheduled status conference
 4   date of November 6, 2012, be vacated and the matter set for status
 5   conference on December 11, 2012, at 9:45 a.m.
 6        This request is made jointly by the government and defense in
 7   order to permit time for continued preparation, including
 8   investigation which is currently in progress, and plea negotiations.
 9   Specifically, discovery in this case consists of several hundred
10   pages of documents, and many hours of wiretapped telephone
11   recordings.   The parties agree that the interests of justice served
12   by granting this continuance outweigh the best interests of the
13   public and the defendant in a speedy trial.        18 U.S.C. §
14   3161(h)(7)(A).
15        Further, the parties agree and stipulate the ends of justice
16   served by the granting of such a continuance outweigh the best
17   interests of the public and the defendants in a speedy trial and that
18   time within which the trial of this case must be commenced under the
19   Speedy Trial Act should therefore be excluded under 18 U.S.C.
20   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
21   [complex case] and T4 [reasonable time for defense counsel to
22   prepare], from November 6, 2012, to and December 11, 2012.
23
24   Dated: November 2, 2012                 /s/ Paul Hemesath
                                             Paul Hemesath
25                                           Assistant United States Attorney
                                             Counsel for Plaintiff
26
     Dated: November 2, 2012                 /s/ Michael E. Hansen
27                                           MICHAEL E. HANSEN
                                             Attorney for Defendant
28                                           MARCELA SANTAMARIA

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 1
     Dated: November 2, 2012                 /s/ Ken Giffard
 2                                           KEN GIFFARD
                                             Attorneys for Defendant
 3                                           IRMA GONZALEZ
 4   Dated: November 2, 2012                 /s/ Christopher Haydn-Myer
                                             CHRISTOPHER HAYDN-MYER
 5                                           Attorney for Defendant
                                             JESUS SANCHEZ-LOPEZ
 6
     Dated: November 2, 2012                 /s/ Arturo Hernandez
 7                                           ARTURO HERNANDEZ
                                             Attorney for Defendant
 8                                           ALEJANDRO FLETES-LOPEZ
 9   Dated: November 2, 2012                 /s/ Olaf Hedberg
                                             OLAF HEDBERG
10                                           Attorney for Defendant
                                             GERMAN GONZALEZ VELAZQUEZ
11
     Dated: November 2, 2012                 /s/ Dina Santos
12                                           DINA SANTOS
                                             Attorney for Defendant
13                                           MAURICIO PORTILLO
14   Dated: November 2, 2012                 /s/ Clemente Jimenez
                                             CLEMENTE JIMENEZ
15                                           Attorney for Defendant
                                             CONSEPCION CARILLO
16
     Dated: November 2, 2012                 /s/ Gilbert Roque
17                                           GILBERT ROQUE
                                             Attorney for Defendant
18                                           GUADALUPE REYES-ONTIVEROS
19   Dated: November 2, 2012                 /s/ Hayes Gable, III
                                             HAYES GABLE, III
20                                           Attorney for Defendant
                                             DIANA HERNANDEZ-GONZALEZ
21
     Dated: November 2, 2012                 /s/ Tim Pori
22                                           TIM PORI
                                             Attorney for Defendant
23                                           ORLANDO FLETES-LOPEZ
24   Dated: November 2, 2012                 /s/ Chris Cosca
                                             Chris Cosca
25                                           Attorney for Defendant
                                             MIGUEL CORONA-SORIA
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                                       O R D E R
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          The Court, having received, read, and considered the stipulation
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     of the parties, and good cause appearing therefrom, adopts the
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     stipulation of the parties in its entirety as its order.              Based on
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     the stipulation of the parties and the recitation of facts contained
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     therein, the Court finds that it is unreasonable to expect adequate
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     preparation for pretrial proceedings and trial itself within the time
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     limits established in 18 U.S.C. section 3161.         In addition, the Court
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     specifically finds that the failure to grant a continuance in this
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     case would deny defense counsel to this stipulation reasonable time
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     necessary for effective preparation, taking into account the exercise
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     of due diligence.    The Court finds that the ends of justice to be
13
     served by granting the requested continuance outweigh the best
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     interests of the public and the defendants in a speedy trial.
15
          The Court orders that the time from November 6, 2012, to and
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     including December 11, 2012, shall be excluded from computation of
17
     time within which the trial of this case must be commenced under the
18
     Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
19
     (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
20
     for defense counsel to prepare].      It is further ordered that the
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     November 6, 2012, status conference shall be continued until December
22
     11, 2012, at 9:45 a.m.
23
24   Dated: 11/2/2012
                                            /s/ John A. Mendez
25                                          Hon. John A. Mendez
                                            United States District Judge
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